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     Encino, California 91436-2746
 3   Telephone: (818) 995-1422
     Facsimile: (818) 788-9408
 4
 5   Attorney for Defendant
     NAM PHAMTRAN
 6
 7
                                    UNITED STATES DISTRICT COURT
 8
                             FOR THE CENTRAL DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                      )   CASE NO.: 2:05-CR-542-GEB
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                             Plaintiff,             )   STIPULATION RE: PERMISSION
12                                                  )   FOR DEFENDANT TO LEAVE
     vs.                                            )   CENTRAL DISTRICT JURISDICTION;
13                                                  )   ORDER THEREON
     NAM PHAMTRAN,                                  )
14                                                  )
                             Defendant.             )
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             IT IS HEREBY STIPULATED, by and between plaintiff, the UNITED STATES OF
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     AMERICA, and defendant NAM PHAMTRAN, through his counsel of record that:
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             1.     Defendant Nam Phamtran be permitted to leave the jurisdiction of the Central District
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     in order to attend a bachelor party in Las Vegas, Nevada, from June 23, 2006, to June 25, 2006, for a
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     period of three days;
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             2.     Defendant Nam Phamtran, upon arriving in Las Vegas, Nevada shall contact his
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     pretrial services officer, STEVEN SHEEHAN, and advise him of the defendant's location of
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     residence and telephone number in Las Vegas, Nevada; and
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             3.     Defendant Nam Phamtran, upon return to his place of residence in the Central
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     District shall contact his pretrial services officer, STEVEN SHEEHAN, and advise him of
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     defendant’s return from Las Vegas, Nevada. .
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     ///

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        Case 2:05-cr-00542-GEB Document 56 Filed 06/22/06 Page 2 of 2


 1   DATED: June 21, 2006
 2
 3                                                          /S/ Alex R. Kessel
                                                        ALEX R. KESSEL
 4                                                      Attorney for Defendant,
                                                        NAM PHAMTRAM
 5
 6   DATED: June 21, 2006
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 8
                                                               /S/ Matthew Stegman
 9                                                      MATTHEW STEGMAN
                                                        Assistant United States Attorney
10                                                      for Plaintiff, UNITED STATES OF AMERICA
11
                                                  ORDER
12
            GOOD CAUSE APPEARING, IT IS SO ORDERED.
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15   DATED: June 21, 2006
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19   For U.S. District Judge Garland E. Burrell
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